        Case 2:06-cr-00176-CG-M                       Doc# 802           Filed 01/26/12                Page 1 of 1              PageID# 3746
AO 247 (Rev. 11/11) Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)            Page 1 of 2 (Page 2 Not for Public Disclosure)


                                      UNITED STATES DISTRICT COURT
                                                                         for the
                                                       Southern District
                                                      __________         of of
                                                                  District  Alabama
                                                                               __________

                    United States of America
                               v.                   )
               FRANK JEFFERY McGILL                 )
                                                               06-00176-004
                                                    ) Case No:
                                                    ) USM No: 09554-003
Date of Original Judgment:         January 15, 2008 )
Date of Previous Amended Judgment:                  ) Pro Se
(Use Date of Last Amended Judgment if Any)                                      Defendant’s Attorney


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                           38568$177286& F 
        Upon motion of u   ✔  the defendant u the Director of the Bureau of Prisons u the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG §1B1.10
and the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
,7,625'(5(' that the motion is:
           u DENIED. u✔ GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
the last judgment issued) of 131                months LVUHGXFHGWR 105 months                           .

                                              (Complete Parts I and II of Page 2 when motion is granted)


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Except as otherwise provided, all provisions of the judgment dated                       January 15, 2008 shall remain in effect.
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Order Date:              January 26, 2012                                                       /s/ Callie V. S. Granade
                                                                                                         Judge’s signature


Effective Date:                                                                               United States District Judge
                     (if different from order date)                                                    Printed name and title
